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                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 19-24331-JKO
Ralph Levi Sanders, Jr.                                                                                    Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-0                  User: banoovong                    Page 1 of 1                          Date Rcvd: Oct 28, 2019
                                      Form ID: CGFI3                     Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 30, 2019.
db             +Ralph Levi Sanders, Jr.,    561 SW 60 Ave.,    Plantation, FL 33317-3947
95383266       +ARS/Account Resolution Specialist,     POB 459079,    Sunrise, FL 33345-9079
95383265       +Albertelli Law,   POB 23028,    Tampa, FL 33623-2028
95383267      ++CITIBANK,   PO BOX 790034,    ST LOUIS MO 63179-0034
               (address filed with court: Citibank,      Attn.: Centralized Bankruptcy,      POB 20507,
                 Kansas City, MO 64195)
95383268       +City of Plantation,    POB 918557,    Orlando, FL 32891-0001
95383269       +Dept of Treasury,     3700 East West Highway,     Hyattsville, MD 20782-2092
95383270       +Dr. Ramsey Pevsner,    7469 NW 4 St.,    Plantation, FL 33317-2216
95383272       +IC Systems, Inc,    Attention: Bankruptcy,    POB 64378,    St Paul, MN 55164-0378
95383273       +Inphynet South Broward, Inc.,    POB 740022,     Cincinnati, OH 45274-0022
95383276       +MD Now Medical Center,    2007 Palm Beach Lakes Blvd,     West Palm Beach, FL 33409-6501
95383275       +Marchelle Bailey, Esq.,    Special Assistant US Attorney,     200 W. Santa Ana Blvd., #180,
                 Santa Ana, CA 92701-4134
95383277       +Medical Data Systems (MDS),    2001 9th Ave., #312,     Vero Beach, FL 32960-6413
95383278       +Memorial Physicians Group,    POB 58015,    Raleigh, NC 27658-8015
95383282       +Tenet Florida Physicians Service,     POB 100198,    Atlanta, GA 30384-0198
95383283       +Wells Fargo Bank, N.A.,    1000 Blue Gentian Rd.,     N9286-01Y,   Eagan, MN 55121-1663
95383284       +Westside Regional Medical Center,     POB 99008,    Bedford, TX 76095-9108

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: swulfekuhle@broward.org Oct 29 2019 01:50:27        Broward County Tax Collector,
                 115 S Andrews Ave,   Ft Lauderdale, FL 33301-1818
smg             E-mail/Text: OGCBankruptcy@floridarevenue.com Oct 29 2019 01:50:18
                 Florida Department of Revenue,    POB 6668,    Bankruptcy Division,
                 Tallahassee, FL 32314-6668
95383271       +E-mail/Text: bankruptcy@flagshipcredit.com Oct 29 2019 01:52:22        Flagship Credit Acceptance,
                 POB 965,   Chadds Ford, PA 19317-0643
95383274        E-mail/Text: cio.bncmail@irs.gov Oct 29 2019 01:51:46       IRS,
                 Centralized Insolvency Operations,    POB 7346,    Philadelphia, PA 19101-7346
95383279       +E-mail/Text: bankruptcydpt@mcmcg.com Oct 29 2019 01:52:10        Midland Funding,
                 8875 Aero Dr., #200,   San Diego, CA 92123-2255
95383280       +E-mail/PDF: resurgentbknotifications@resurgent.com Oct 29 2019 01:55:23
                 Resurgent Capital Services,    POB 1927,    Greenville, SC 29602-1927
95383281       +E-mail/Text: birminghamtops@sba.gov Oct 29 2019 01:52:32       Small Business Administration,
                 801 Tom Martin Dr., #120,   Birmingham, AL 35211-6424
                                                                                               TOTAL: 7

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 30, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 28, 2019 at the address(es) listed below:
              Michael H. Johnson   on behalf of Debtor Ralph Levi Sanders, Jr. info@attorneydebthelper.com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
              Robin R Weiner   ecf@ch13weiner.com;ecf2@ch13weiner.com
                                                                                            TOTAL: 3
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CGFI3 (6/30/17)

                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 19−24331−JKO
                                                                                                                 Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, FL 33317

SSN: xxx−xx−6171


                 NOTICE OF FILING OF CHAPTER 13 CASE AND
     NOTICE TO DEBTOR OF DEADLINE(S) TO CORRECT FILING DEFICIENCIES
TO ALL PARTIES OF RECORD:
NOTICE OF FILING OF CHAPTER 13 CASE:The above−named debtor filed a chapter 13 bankruptcy case on October 25,
2019. This notice is being provided to advise all parties of record of the filing of this case. Upon the filing of a plan by the debtor,
the clerk's office will serve a notice on all creditors advising of the date for the meeting of creditors, the date of the confirmation
hearing and any case deadlines that have been established. If you received this notice you may be a creditor in this case. The
filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take
action to collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect,
creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required
to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not
exist at all, although debtors can ask the court to extend or impose a stay.
Consult a lawyer to determine your rights in this case. The staff of the bankruptcy clerk's office cannot give legal advice.
To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers,
which may appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social
Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.


TO THE DEBTOR, Ralph Levi Sanders, Jr. :
NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCIES: NOTICE IS HEREBY GIVEN TO THE DEBTOR(S) that the
above referenced case, which was filed on October 25, 2019, contains one or more filing deficiency(ies) which must be
corrected. Failure to correct a deficiency on or before the deadline posted below the listed deficiency may result in
dismissal of this case without further notice. Deficiencies in items listed below may include failure to file the document,
failure to sign the document, or failure to file the document using the correct and/or current form that substantially conforms to
an Official Bankruptcy Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules,
forms, instructions and guidelines are on the court website www.flsb.uscourts.gov.

DEFICIENCY(IES) in your case: You must correct the following deficiency(ies) by the date indicated below each deficiency.

                     Chapter 13 Plan (Local Form LF−31) was not filed with the petition.
                     Deadline to correct deficiency: 11/8/19

                     Schedules of assets and liabilities. The following schedules were not filed OR were not
                     filed using the correct and/or current Official Bankruptcy Form.
                     Deadline to correct deficiency: 11/8/19

                               Official Bankruptcy Form 106, Summary of Your Assets and Liabilities and Certain
                               Statistical Information
                               Official Bankruptcy Form 106A/B, Schedule A/B: Property
                               Official Bankruptcy Form 106C, Schedule C: The Property You Claim as Exempt
                               Official Bankruptcy Form 106D, Schedule D: Creditors Who Hold Claims Secured
                               by Property
                               Official Bankruptcy Form 106E/F, Schedule E/F: Creditors Who Have Unsecured
                               Claims
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                          Official Bankruptcy Form 106G, Schedule G: Executory Contracts and Unexpired
                          Leases
                          Official Bankruptcy Form 106H, Schedule H: Your Codebtors
                          Official Bankruptcy Form 106I, Schedule I: Your Income
                          Official Bankruptcy Form 106J, Schedule J: Your Expenses and (if applicable)
                          Official Bankruptcy Form 106J2, Schedule J−2: Expenses for Separate Household
                          of Debtor 2

                  Declaration About an Individual Debtor's Schedules (Official Bankruptcy Form 106) was
                  not filed or was not signed.
                  Deadline to correct deficiency: 11/8/19


                                 Declaration not filed
                                 Declaration not signed
                                 Declaration must be filed with deficient schedules listed above

                  Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form
                  107) was not filed or was not signed. See Bankruptcy Rule 1007(b) and (c).
                  Deadline to correct deficiency: 11/8/19


                                 Statement not filed
                                 Statement not signed
                                 Statement incomplete

                  Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment
                  Period (Official Bankruptcy Form 122C−1) was not filed. See Bankruptcy Rule 1007(b) and
                  (c).
                  Deadline to correct deficiency: 11/8/19

                  Copies of all payment advices or other evidence of payment received within 60 days
                  before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Debtor.
                  See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(E). Payment advices are
                  deficient as indicated: PAYMENT ADVICES NOT FILED
                  Deadline to correct deficiency: 11/8/19

Please also be advised of the following local requirement when correcting any deficiency related to filing of petitions,
schedules, statements or lists:

The Local Form "Debtor's Notice of Compliance with Requirements for Amending Creditor Information" (LF−04) and the Official
Bankruptcy Form "Declaration About an Individual Debtor's Schedules" must accompany the filing of any paper submitted
subsequent to the filing of the initial service matrix. [See Bankruptcy Rules 1007 and 1009, and Local Rules 1007−2(B) and
1009−1(D)]. If the paper you are filing to correct the deficiency requires you to amend your service matrix, please review the
"Clerk's Instructions for Preparing, Submitting and Obtaining Service Matrices" for additional format, fee and other requirements.

Dated: 10/28/19                                                     Clerk of Court
                                                                    By: Bea Banoovong , Deputy Clerk
The clerk shall serve a copy of this notice on all parties of record.
